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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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WILLIAM A. VENTURA and WILSON A.                                   23-cv-00269 (RER)(RML)
HERNANDEZ,
                                                                         STIPULATION
                          Plaintiffs,

         -against-

 ABLE PAVEMENT MARKING CORP.,
 APM SERVICES GROUP CORP., ZISSY
 FOLLMAN, and BEN FOLLMAN,

                           Defendants.
-------------------------------------------------------------X

        IT IS HEREBY STIPULATED AND AGREED by and between the undersigned attorneys

for the above-captioned Parties that, pursuant to Fed. R. Civ. P. 15(a)(2), Defendants consent to

the filing of Plaintiffs’ First Amended Complaint. For purposes of this Stipulation, facsimile,

scanned, emailed, and electronic signatures shall constitute originals.

 Dated: Massapequa, New York                              Dated: New York, New York
        November 20, 2023                                        November 20, 2023

 The NHG Law Group, P.C.                                  Book Law LLP


 _______________________________                          _______________________________
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